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0DJLVWUDWH-XGJH-XGLWK&0F&DUWK\
7KH+RQ&KDUOHV/%ULHDQW-U
)HGHUDO%XLOGLQJDQG8QLWHG6WDWHV&RXUWKRXVH
4XDUURSDV6WUHHW
:KLWH3ODLQV1<

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'HDU-XGJH0F&DUWK\

                %\OHWWHUWRGD\WKHJRYHUQPHQWKDVUHTXHVWHGDVL[ZHHNH[WHQVLRQRIWKHEULHILQJ
VFKHGXOHLQWKLVFDVH³WRFRQIHUZLWKWKH.RUHDQ*RYHUQPHQWDERXWWKHLVVXHVUDLVHGLQ0U<RR¶V
EULHI´:HFRQVHQWHGWRWKDWUHTXHVW$OWKRXJKWKHJRYHUQPHQWGRHVQRWVD\VRLQLWVUHTXHVWLW
VHHPVREYLRXVWKDWWKHJRYHUQPHQWLVWURXEOHGE\WKHLVVXHVWKDWRXUEULHIKDVUDLVHG3ULQFLSDO
DPRQJWKRVHLVVXHVLVWKHFDQGRURI.RUHDQDXWKRULWLHVLQWKHLUVXEPLVVLRQVLQVXSSRUWRI0U<RR¶V
H[WUDGLWLRQ$VDUHDGLQJRIRXUEULHIGHPRQVWUDWHVWKHUHLVDEXQGDQWUHDVRQWREHOLHYHWKDW.RUHDQ
DXWKRULWLHV KDYH PLVTXRWHG ZKDW ZLWQHVVHV VDLG WR .RUHDQ SURVHFXWRUV LQ  WR PDNH DQ
DSSOLFDWLRQODFNLQJLQSUREDEOHFDXVHDSSHDURWKHUZLVH
                 :H DSSUHFLDWH WKDW EDLO LV DSSURSULDWH LQ DQ H[WUDGLWLRQ FDVH RQO\ LQ ³VSHFLDO
FLUFXPVWDQFHV´%XWDUHTXHVWIRUDVL[ZHHNDGMRXUQPHQWWRSHUPLWRXUJRYHUQPHQWWRVSHDNWR
.RUHDQDXWKRULWLHVDERXWWKHDFFXUDF\RIWKHLUVXEPLVVLRQLVH[WUDRUGLQDU\DQGVKRXOGTXDOLI\DV
D VSHFLDO FLUFXPVWDQFH  :H WKHUHIRUH DVN WKH &RXUW WR VFKHGXOH D EDLO UHYLHZ  ZH ZLOO EH
UHTXHVWLQJKRXVHDUUHVWZLWKHOHFWURQLFPRQLWRULQJDWWKH&RXUW¶VHDUOLHVWFRQYHQLHQFH

   SO ORDERED:                                         5HVSHFWIXOO\VXEPLWWHG
   Application granted. The Court will hold a remote bail hearing on November 5, 2020 at 1:00
   p.m. To access the conference, counsel shouldV3DXO6KHFKWPDQ
                                                         call 877-873-8017 and use access code
   4264138. Counsel will also be provided with a link to connect to the conference via video.
   Counsel for Mr. Yoo is directed to submit a letter, 3DXO6KHFKWPDQ
                                                       not to exceed five pages, setting forth his
                                                       3DUWQHU
   bailarguments,includingbutnotlimitedtowhat"special circumstances"exist,byOctober24,
   2020.TheGovermentshallfileitsresponse,alsolimitedtofivepages,byOctober28,2020.

   __________________________________
      _________________________       10-2-2020
   JUDITHC.McCARTHY
     DITH C M CARTHY
   UnitedStatesMagistrateJudge
WĂƵů^ŚĞĐŚƚŵĂŶ          d͗нϭ͘ϮϭϮ͘ϱϬϴ͘ϲϭϬϳ&͗нϭ͘ϴϬϬ͘ϰϬϰ͘ϯϵϳϬ
WĂƌƚŶĞƌ                 ϭϮϱϭǀĞŶƵĞŽĨƚŚĞŵĞƌŝĐĂƐ͕ϰϵƚŚ&ůŽŽƌ͕EĞǁzŽƌŬ͕EĞǁzŽƌŬϭϬϬϮϬͲϭϭϬϬ
                         ƉĂƵů͘ƐŚĞĐŚƚŵĂŶΛďƌĂĐĞǁĞůů͘ĐŽŵďƌĂĐĞǁĞůů͘ĐŽŵ


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